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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF FLORIDA
                                      GAINESVILLE DIVISION


MARY HURLEY,

         Plaintiff,

-vs-
                                                        CASE NO.: 1:17-cv-00222-MW-GRJ
COMENITY BANK,

         Defendant.
                                            /

                                         JOINT STATUS REPORT

          Plaintiff, Mary Hurley, and Defendant, Comenity Bank, through counsel and pursuant to

this Court’s Order directing the parties to file a Joint Status Report every 180 days (Doc. 16),

state:

          1.          The case remains at issue.

          2.          On April 19, 2018, H. David Luff, Arbitrator was appointed as arbitrator.

          3.          A telephonic preliminary hearing was held on May 9, 2018 and a scheduling order

was issued.

          4.          The parties are in the process of exchanging discovery requests and are in the

process of scheduling depositions.

          5.          The final arbitration hearing is scheduled for March 14, 2019.

Dated: May 30, 2018
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Respectfully submitted,

/s/ Octavio Gomez                     /s/ Charles J. McHale
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